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UNITED STATES DISTRICT COURT
                                                               ORIGINAl
SOUTHERN DISTRICT OF NEW YORK
                                           X


  UNITED STATES OF AMERICA

             - v. -                              SEALED SUPERSEDING
                                                 INDICTMENT
  OZ YOSEF,
       a/k/a "Oz Joseph,"                        S2 19 Cr. 254      (ALC)

                  Defendant.
                                          _x

                              COUNT ONE
                   (Conspiracy to Commit Bank Fraud)

            The Grand Jury charges:

     1.     From at   least    in   or   about   February   2018,    up     to   and

including in or about October 2018,            in the Southern District of

New York and elsewhere, OZ YOSEF, a/k/a "Oz Joseph," the defendant,

and others known and unknown, willfully and knowingly did combine,

conspire,   confederate, and agree together and with each other to

commit bank fraud,    in violation of Title 18, United States Code,

Section 1344.

     2.     It was a part and object of the conspiracy that OZ YOSEF,

a/k/a "Oz Joseph," the defendant,          and others known and unknown,

would and did knowingly execute, and attempt to execute, a scheme

and artifice to obtain moneys, funds, credits, assets, securities,

and other property owned by, and under the custody and control of,

a financial institution, the deposits of which were then insured
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by the Federal Deposit Insurance Corporation, by means of false

and fraudulent pretenses,                 representations, and promises, to wit,

YOSEF worked with a U.S. -based co-conspirator                             ( "CC-1")      in order

for CC-1 to open numerous U.S. -based business bank accounts at

several different banks, and in opening and using these accounts

CC-1    and     others      falsely       represented       to     those     banks      that    the

accounts        would      be    primarily      used      for     real   estate        investment

transactions,        even though YOSEF and CC-1 knew that the accounts

would be used,           and were         in fact     used,      by YOSEF and others             to

transmit        funds    on      behalf    of   an    unlicensed money             transmitting

business related to the operation of cryptocurrency exchanges.

                (Title 18, United States Code, Section 1349.)

                                            COUNT TWO
                                           (Bank Fraud)

                The Grand Jury further charges:

        3.      From at         least   in or about         February       2018,     up    to   and

including in or about October 2018,                       in the Southern District of

New York and elsewhere, OZ YOSEF, a/k/a "Oz Joseph," the defendant,

willfully and knowingly executed and attempted to execute a scheme

and artifice to defraud a financial institution, the deposits of

which        were   then        insured    by       the   Federal        Deposit       Insurance

Corporation,         and        to   obtain· moneys,            funds,    credits,        assets,

securities, and other property owned by, and under the custody and

control       of,   such financial          institution,          by means     of      false    and


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fraudulent pretenses, representations, and promises, to wit, YOSEF

caused to be opened and used numerous bank accounts at financial

institutions the deposits of which were insured by the Federal

Deposit       Insurance      Corporation,    including       a    bank    based     in

Manhattan, New York, and in so doing falsely represented to these

financial institutions that the accounts would be primarily used

for real estate investment transactions even though YOSEF knew

that the accounts would be used,             and were in fact used by YOSEF

and others to transmit funds            on behalf of an unlicensed money

transmitting business related to the operation of cryptocurrency

exchanges.

             (Title 18, United States Code, Sections 1344            &   2.)

                               COUNT THREE
         (Conspiracy to Operate an Unlicensed Money Transmitting
                                Business)

               The Grand Jury further charges:

        4.     From in or about February 2018 up to and including in or

about    October    2018,    in the    Southern District         of New York and

elsewhere, OZ YOSEF, a/k/a "Oz Joseph," the defendant, and others

known and unknown, willfully and knowingly did combine, conspire,

confederate, and agree together and with each other to commit an

offense      against   the    United   States,   to   wit,       operation     of   an

unlicensed money transmitting business, in violation of Title 18,

United States Code, Section 1960.


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        5.         It was a part and object of the conspiracy that OZ YOSEF,

a/k/a "Oz Joseph," the defendant,                              and others known and unknown,

would        and    did       knowingly        conduct,         control,    manage,      supervise,

direct, and own all and part of an unlicensed money transmitting

business affecting interstate and foreign commerce,                                   in violation

of Title 18, United States Code, Section 1960.

                                                   Overt Act

        6.         In   furtherance           of    the       conspiracy,   and to       effect   the

illegal object thereof, OZ YOSEF, a/k/a "Oz Joseph," the defendant,

together with others known and unknown,                               committed the following

overt act, in the Southern District of New York and elsewhere:

                   a.        In late September 2018, YOSEF texted CC-1 regarding

the need to transfer $10,000,000 to a bank located in the Bahamas,

knowing that the funds would be transferred from a bank account

maintained with a bank located in Manhattan, New York.

                    (Title 18, United States Code, Section 371.)

                                      FORFEITURE ALLEGATIONS

        7.         As a result of committing the offenses charged in Counts

One and Two of this Indictment, OZ YOSEF, a/k/a "Oz Joseph," the

defendant,          shall          forfeit    to    the United States,           pursuant to       18

U.S.C.        §    982 (a) (2) (A),          any    and       all   property     constituting      or

derived           from,       proceeds        the     defendant        obtained      directly      or

indirectly,             as    a     result     of    the       commission   of    said    offenses,

including but                not    limited to        a       sum of money in United States

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currency   representing the        amount   of proceeds     traceable   to    the

commission of said offenses and the following specific property:

           a.   Any   and all       funds   held at     Citibank,    in account

207112962, held in the name of Global Trading Solutions LLC;

           b.   Any and all         funds   held at     Citibank,    in account

42024768923, held in the name of Reginald D. Fowler;

           c.   Any and all         funds   held at     Citibank,    in account

206618910, held in the name of Global Trading Solutions LLC;

           d.   Any and all         funds   held at     Citibank,    in account

42001787749, held in the name of Reginald D. Fowler;

           e.   Any and all funds seized on or about October 23,

2018 and November 26, 2018 from HSBC Bank, in account 861668, held

in the name of Reginald D. Fowler;

           f.   Any and all funds seized on or about October 23,

2018 from HSBC Bank,        in account 141000147,       held in the name of

Global Trading Solutions LLC;

           g.   Any   and    all    funds   held   at   Enterprise    Bank,    in

account 1127548, held in the name of          Eligibility Criterion;

           h.   Any   and    all    funds   held   at   Enterprise    Bank,   in

account 1241367, held in the name of          Eligibility Criterion;

           i.   Any   and    all    funds   held   at   Enterprise    Bank,   in

account 1127652, held in the name of          Eurocontrol;

           j.   Any   and    all    funds   held   at   Enterprise    Bank,   in

account 1127177, held in the name of Global Trading Solutions LLC;

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           k.   Any and all funds on deposit at Deutsche Bank AG,

held in the name of Global Trade Solutions GMBH;

           1.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1127193, held in the name of Global Trading Solutions LLC;

           m.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1128700, held in the name of Reginald D. Fowler;

           n.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1128727, held in the name of Reginald D. Fowler;

           o.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1127599,   held in the name of Spiral Global Development

Corporation;

           p.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1235784, held in the name of Spiral Sports II;

           q.   Any and all funds held at JP Morgan Chase Bank, in

account 296219550,    held in the name of Global Trading Solutions

LLC; and

           r.   Any and all funds held at JP Morgan Chase Bank, in

account 779558365, held in the name of Spiral Global Development

Corporation.




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        8.        As a result of committing the offense alleged in Count

Three        of   this    Indictment,      OZ    YOSEF,     a/k/a     "Oz   Joseph,"    the

defendant,         shall forfeit to the United States, pursuant to Title

18, United States Code, Section 982 (a) (1), any and all property,

real    and personal,           involved    in     said    offense,    or   any property

traceable to such property, including but not limited to a sum of

money in United States currency representing the amount of property

involved in said offense and the following specific property:

                  a.     Any and all       funds    held at       Citibank,    in   account

207112962, held in the name of Global Trading Solutions LLC;

                  b.     Any   and all     funds    held at       Citibank,   in account

42024768923, held in the name of Reginald D. Fowler;

                  c.     Any and all       funds    held at       Citibank,   in    account

206618910, held in the name of Global Trading Solutions LLC;

                  d.     Any   and all     funds    held at       Citibank,    in account

42001787749, held in the name of Reginald D. Fowler;

                  e.     Any and all funds seized on or about October 23,

2018 and November 26, 2018 from HSBC Bank, in account 861668, held

in the name of Reginald D. Fowler;

                  f.     Any and all funds seized on or about October 23,

2018 from HSBC Bank,             in account 141000147,             held in the name of

Global Trading Solutions LLC;

                  g.     Any   and   all   funds    held     at   Enterprise    Bank,    in

account 1127548, held in the name of                      Eligibility Criterion;
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           h.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1241367, held in the name of        Eligibility Criterion;

           i.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1127652, held in the name of        Eurocontrol;

           j.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1127177, held in the name of Global Trading Solutions LLC;

           k.   Any and all funds on deposit at Deutsche Bank AG,

held in the name of Global Trade Solutions GMBH;

           l.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1127193, held in the name of Global Trading Solutions LLC;

           m.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1128700, held in the name of Reginald D. Fowler;

           n.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1128727, held in the name of Reginald D. Fowler;

           o.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1127599,     held in the name of Spiral Global Development

Corporation;

           p.   Any   and   all   funds   held   at   Enterprise   Bank,   in

account 1235784, held in the name of Spiral Sports II;

           q.   Any and all funds held at JP Morgan Chase Bank, in

account 296219550,    held in the name of Global Trading Solutions

LLC; and

           r.   Any and all funds held at JP Morgan Chase Bank, in

account 779558365, held in the name of Spiral Global Development

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      Corporation.

                               Substitute Asset Provision

           9.       If any of the above described forfeitable property, as

      a result of any act or omission of the defendant:

                   a.    Cannot    be     located     upon    the   exercise    of      due

      diligence;

                   b.    Has been transferred or sold to, or deposited with,

      a third person;

                   c.    Has   been     placed   beyond   the    jurisdiction      of   the

      Court;

                   d.    Has been substantially diminished in value; or

                   e.    Has   been     commingled     with     other   property     which

      cannot be subdivided without difficulty;

      it is the intent of the United States, pursuant to Title 21, United

      States Code,      Section    853 (p)   and Title 28,        United States Code,

      Section 2461(c), to seek forfeiture of any other property of the

      defendant up to the value of the above forfeitable property.

                      (Title 18, United States Code, Section 982;
                     Title 21, United States Code, Section 853.)




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                                                     United States Attorney




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                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK


                   UNITED STATES OF AMERICA

                                - v. -

                           OZ YOSEF,
                      a/k/a "Oz Joseph,"

                                                 Defendant.


                    SUPERSEDING INDICTMENT

                      S2 19 Cr. 254      (ALC)

           (18   u.s.c.   §§   371, 1344, 1349, 1960,
                               and 2)



                      GEOFFREY S. BERMAN

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